       Case 1:25-cv-10676-BEM
       Case 1:25-cv-10676-BEM           Document 2-1
                                        Document 13        Filed
                                                           Filed 03/23/25
                                                                 03/23/25       Page
                                                                                Page 11 of
                                                                                        of 11




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,                                    Case No. 25-cv-10676

                   v.                                        ORDER GRANTING
                                                             PLAINTIFFS’ MOTION
 U.S. DEPARTMENT OF HOMELAND SECURITY;                       FOR LEAVE TO APPEAR
 Kristi NOEM, Secretary, U.S. Department of                  UNDER PSEUDONYMS
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.




       The Court has considered Plaintiffs’ Motion for Leave to Appear Under Pseudonyms and

the motion is GRANTED. Accordingly, it is ORDERED that:

       1. Plaintiffs are granted leave to proceed in this matter under pseudonyms; and

       2. The parties shall submit pleadings, briefing and evidence using Plaintiffs’ initials

instead of their real names and other personally identifying information.

       3. The attorney for the plantiffs are instructed to file a motion under seal with the

names of the plaintiffs so the Government can comply with the Court's order.


       IT IS FURTHER ORDERED that, because this motion was granted prior to service on

Defendants, the Court will allow Defendants to seek reconsideration if they wish to oppose this

Order within 30 days of the date of service on the U.S. Attorney’s Office for the District of

Massachusetts.
                                                      ___/s/ Brian E. Murphy___________
                                                      UNITED STATES DISTRICT JUDGE
Signed on this _23rd_ day of March 2025.
